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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA

 NAVY SEAL 1, United States Navy, NAVY                 )
 SEAL 2, United States Navy, EOD OFFICER,              )
 United States Navy, SENIOR CHIEF PETTY                )
 OFFICER, United States Navy, CHAPLAIN,                )
 United States Navy, LIEUTENANT COLONEL                ) Case No. ___________________
 1, United States Marine Corps, LIEUTENANT             )
 COLONEL 2, United States Marine Corps,                )
 MAJOR, United States Marine Corps, SECOND             )
 LIEUTENANT, United States Marine Corps,               )
 CAPTAIN, United States Marine Corps, ARMY             )
 RANGER, United States Army, LANCE                     )
 CORPORAL 1, United States Marine Corps,               )
 LANCE CORPORAL 2, United States Marine                )
 Corps,     MAJOR, UNITED STATES AIR                   )
 FORCE, NATIONAL GUARDSMAN, Virginia                   )
 Army National Guard, COAST GUARD                      )
 LIEUTENANT, United States Coast Guard,                )
 COLONEL, United States Army, TECHNICAL                )
 SERGEANT, United States Air Force, DEFENSE            )
 DEPARTMENT CONTRACTOR, United States                  )
 Department of Defense, FEDERAL CIVILIAN               )
 ENGINEER          CONTRACTOR,          FEDERAL        )
 CIVILIAN        CONTRACTOR           EMPLOYER,        )
 FEDERAL          NUCLEAR           CONTRACTOR         )
 EMPLOYEE, DEPARTMENT OF ENERGY                        )
 CIVILIAN NUCLEAR TECH, for themselves                 )
 and all others similarly situated,                    )
                                                       )
                    Plaintiffs,                        )
 v.                                                    )
                                                       )
 JOSEPH R. BIDEN, in his official capacity as          )
 President of the United States, LLOYD AUSTIN,         )
 in his official capacity as Secretary of the United   )
 States Department of Defense, and ALEJANDRO           )
 MAYORKAS, in his official capacity as Secretary       )
 of the Department of Homeland Security,               )
                                                       )
                    Defendants.                        )
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                     DECLARATION OF NAVY CHAPLAIN
       I, Navy Chaplain, do hereby declare as follows:

       1.    I am over the age of 18 years, have personal knowledge of the matters

set forth in this Declaration, and if called upon to testify to them, I would and could

do so competently.

       2.    I am a Chaplain in the United States Navy.

       3.    I have served for over 18 years.

       4.    I am personally affected by the SECDEF’s order for mandatory

vaccinations.

       5.    I have recently returned from a extended deployment with a Navy

Carrier Strike Group.

       6.    During this deployment, I have spoken with many Sailors who are

anguished at the thought of a choice between the COVID shot, and their deeply-held,

sincere religious beliefs that receiving the COVID shot would be a grave sin.

       7.    There have been many tears shed in my office by Sailors affected by

the COVID shot mandates who have been in distress over their moral dilemma to

follow orders or to follow their spiritual convictions and sincerely held religious

beliefs.

       8.    I have spent well over 100 hours in counseling with these individuals

over the course of 6 months talking through the issues individually and in groups.


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Since 24 August 2021 it has been my primary counseling topic among all Sailors in

my command.

      9.     I have observed that almost every Sailor who was faithful in attending

chapel has also submitted religious accommodation requests regarding the COVID

shot mandate, in order to maintain his or her sincere religious beliefs.

      10.    One Sailor in particular who ended up getting the shot wrestled day and

night with the COVID shot order for two months, and was extremely conflicted

between his other obligations, and his faith. He expressed that he was the sole

breadwinner; has young children; desired to keep faith with the Navy and follow all

lawful orders; and yet he felt that he was being unfaithful to God and coerced by the

Navy. Ultimately, he felt he had to get the shot, notwithstanding his belief he was

committing sin. He felt great fear of God’s judgment for disobeying what he

believed God wanted. He felt great fear for how his wife (who was adamantly

opposed to him receiving the COVID shot) would react to the news, and the future

of their marriage. He felt great shame for his weakness.

      11.    I personally observed and experienced tremendous amounts of

coercion, bullying, censorship, and intimidation being brought forth by the

command to bear against the personnel who expressed objections of any kind to the

COVID shot mandates, including religious objections.




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          12.   One coercion technique the Command used was telling the Sailors that

if they got the COVID shot, they would be able to get liberty during deployment port

visits.

          13.   However, when we arrived at each port, liberty was denied. The Sailors

who had gotten the shots after this coercion felt resentful, angry, disillusioned, and

distrustful of the command leadership. It was so bad that key words and phrases

became so common that the Commanding Officer needed to specifically address the

crew on two occasions in an effort to limit the use of the phrases.

          14.   Overall, Command Climate at our command has been very, very good

in the past, but the “bait and switch” tactics throughout this ordeal has undermined

trust in the Chain of Command.

          15.   As of September 24, 2021, it is reported that “52 troops have died from

COVID-19 complications.” “Their deaths bring the military’s COVID-19 mortality

rate to just over 0.00002, much lower than the roughly 2-percent rate nationwide,”

See Military Times, “Military COVID-19 deaths double in two months” available

at    https://www.militarytimes.com/news/pentagon-congress/2021/09/24/military-

covid-19-deaths-double-in-two-months/ (last visited October 12, 2021).

          16.   DoD has expended vast resources on protecting the Force from the risks

entailed by COVID-19, despite COVID’s 99.98% survival rate amongst members

of the U.S. Military.


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      17.    In contrast to 52 deaths attributed to COVID-19, Force-wide, since

the pandemic was declared in January 2020, in CY 2020, there were 384 suicide

deaths in the Active Component of the DoD; 197 suicide deaths in the Reserve

Component; and 120 suicide deaths in the National Guard, for a total of 701 suicide

deaths in Calendar Year 2020. See Department of Defense (DoD) Quarterly

Suicide Report (QSR), 2nd Quarter, CY 2021 by Karin A. Orvis, Ph.D., Director,

Defense Suicide Prevention Office (DSPO), available at

https://www.dspo.mil/Portals/113/Documents/TAB%20A_20210929_OFR_Rpt_Q

2%20CY%202021%20QSR.pdf?ver=7vDYCTnjJlZPN_qKR5pU9Q%3d%3d

      18.    As set forth by the DoD QSR Report, Calendar Year 2020 showed the

highest number of suicides in recent years. Active Duty is the most directly affected

by the mandates and restrictions placed on us in an “effort to reduce the spread of

COVID.” In 2020 the number of people committing suicide on Active Duty was 34

percent higher than in 2017, an increase of 97 personnel. This increase in suicide

rate alone is nearly double the total COVID deaths.

      19.    In Quarter 1 of 2020, there were 90 suicide deaths in the Active

Component of the DoD; 45 suicide deaths in the Reserve Component; and 25 suicide

deaths in the National Guard, for a total of 160 suicide deaths in Q1 2020.




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        20.   In Quarter 2 of 2021, there were 75 suicide deaths in the Active

Component of the DoD; 43 suicide deaths in the Reserve Component; and 28 suicide

deaths in the National Guard, for a total of 146 suicide deaths in Q1 2021.

        21.   From January 2020, through June 30, 2021, there have been 1,012

suicide deaths DoD-wide. In contrast, from January 2020, through September 2021,

there had been 52 COVID-attributed military deaths DoD-wide.

        22.   There have been countless COVID-19 memos, PowerPoints, briefings,

meetings, and orders.      Masking and social distancing has dehumanized our

shipmates, cutting us off from camaraderie and the human connection necessary to

life.

        23.   Clearly, the military has lost more lives to the increase in suicide from

2020-2021 (at least 1,012) than to all of COVID in 2 years (52), but suicide has not

been a focus.

        24.   From 1 January to mid-October 2021 our command delivered

approximately 20 minutes of “Suicide Prevention Training”, during September

2021, “Suicide Prevention Month.”

        25.   Prior to this training, since February 2020, the focus has been

“Diversity, Equality, and Inclusion” (“DEI”), and “extremism” training.

        26.   The DEI training created a hostile environment on the ship and divided

shipmates upon ideological and racial lines. The hostility was particularly focused


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against white males. After the DEI training, every white male Sailor on our ship

who was eligible for retirement submitted his retirement papers while females and

other minorities eligible for retirement did not submit any requests for retirement.

      27.    The “extremism” training was also extremely divisive on the ship. It

was entirely anti-Republican, anti-Conservative, anti-Christian, and anti-white male

training. It created a hostile training environment and hostile work environment.

      28.    I do not recall the Commanding Officer speaking on suicide once

during the deployment. He spoke approximately once per week on COVID. He

spoke extensively about “Diversity, Equality and Inclusion” and “Extremism” and

ensured he was present for every training session to emphasize how important the

training was.

      29.    I have spoken with many Sailors who have expressed great stress and

talked about the severe harm to their mental health, as a result of the SECDEF’s

COVID vaccination orders. Most of these Sailors caved to the pressure, despite their

convictions; but many have not, and are faced with the prospect of punitive action if

their religious exemption requests are denied.

      30.    In addition to these Sailors, and myself, I am concerned that many of

my Chaplain colleagues will be forced to choose between their faith in God, as

informed by their conscience and theologies, and the military service, which they

also love.


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      31.    Those who lose as result of this unnecessary choice will be these

Chaplains, and all of the Sailors, Soldiers, Airmen and Marines whom these

Chaplains would have continued to faithfully serve.

      32.    Chaplain recruiting has failed to meet annual recruiting goals in recent

years and consequently the Navy Chaplain Corps is undermanned. The loss of more

Chaplains will be especially profound, for those service members (and their loved

ones) who will be unable to find the help they needed in the Chaplain Corps, because

so many of the faithful Chaplains were driven out. Driven to despair, without hope

and the loving help offered by faithful and caring Chaplains, we can expect a

continued death toll from suicide that far exceeds any personnel tragically lost to

“COVID-19.”

      I declare under penalty of perjury of the laws of the United States and the State

of Florida that the foregoing statements are true and correct to the best of my

knowledge.

      Dated this 15th day of October, 2021

                                 /s/ Navy Chaplain
                                 NAVY CHAPLAIN




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